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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      MACON DIVISION

WASEEM DAKER,                                       *

                       Plaintiff,                   *
v.                                                      Case No. 5:21-cv-00087-TES-MSH
                                                    *
CLERK JUANITA M LAIDLER, et al.,
                                                    *
                  Defendants.
___________________________________                 *

                                             JUDGMENT

          Pursuant to this Court’s Order dated November 16, 2021, having accepted the recommendation

of the United States Magistrate Judge, in its entirety, JUDGMENT is hereby entered dismissing this

action.

          This 16th day of November, 2021.

                                             David W. Bunt, Clerk


                                             s/ Tydra Miller, Deputy Clerk
